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                    IN THE UNITED STATES DISTRICT COURT

                    DISTRICT OF UTAH, CENTRAL DIVISION


UNITED STATES OF AMERICA,                         Case No.

                    Plaintiff,                    INDICTMENT

      v.

MINH HOANG,                                       Viol. 18 U.S.C. § 1832,
                                                  THEFT OF TRADE SECRETS
                    Defendant.

                                             Case: 2:17-cr-00444
                                             Assigned To: Parrish, Jill N.
                                             Assign. Date: 07/26/2017
                                             Description: USA v.
      The Grand Jury charges:

                   INTRODUCTION AND PREDICATE FACTS

      At all times relevant to this Indictment:

                           Becton, Dickinson and Company

      1.     Becton, Dickinson and Company (hereinafter, "BD") is a medical

technology company headquartered in Franklin Lakes, New Jersey that serves healthcare
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institutions, life science researchers, clinical laboratories, and the general public. BD

manufactures and sells various medical supplies, devices, equipment and products. BD

employs approximately 40,000 associates and maintains offices in approximately 50

countries worldwide.

       2.      BD maintains a manufacturing facility in Sandy, Utah (the "Sandy

Facility") in which BD employs over 1,000 associates and manufactures several BD

products, including but not limited to, peripheral intravenous (IV) catheters, IV

accessories, and surgical scmbs products.

                         BD's Efforts to Protect Its Trade Secrets

       3.       It is critical to BD's success that its research and development for current

and future products remain secret. BD's competitive position rests on continually

enhancing product development and on a strong and consistent research and development

approach founded on confidentiality and protection of intellectual property. BD's

competitors could benefit greatly from its secret knowledge. In order to protect its trade

secrets and intellectual property, BD employs several precautions, including the

following:

             a. BD requires employees to sign, as a condition of their employment, an

                agreement to refrain from disclosing any confidential information to third



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       parties and from using any such information for personal purposes. BD

       requires that its employees agree that they will protect BD 's trade secrets,

       and that they will assign to BD any rights in any invention or research

       conducted or developed while employed at BD.

    b. BD requires employees to participate in annual security and confidentiality

       training.

    c. BD restricts physical access to its facilities and requires visitors to register

       with security and obtain authorization from BD personnel to enter its

       facilities.

    d. BD restricts access to its computer systems by maintaining advanced

       computer security systems and requiring the entry of a user name and

       password to gain access to BD' s electronic system containing trade secrets,

       confidential, and proprietary information.

    e. BD maintains a secure document management system, which serves as the

       secure repository for BD's manufacturing, production, and development

       process documents, including documents containing or pertaining to BD' s

       trade secrets.




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   f. BD allows employees to access BD's computer system while off-site but

       only through BD's virtual private network ("VPN"), which uses encryption,

       security software and other security devices to ensure that only authorized

       users can access BD's network remotely.

    g. To the extent that confidential information exists in written paper form, BD

       keeps such writings in secured areas with limited access.

    h. BD has in place electronic systems that monitor activity such as the

       downloading of files and information from its computers to portable

       devices. One of these security measures, a Data Loss Prevention

       application, is installed on BD assets, including but not limited to laptops.

       The Data Loss Prevention application enables BD to develop a n~port of the

       identity of BD employees who electronically copy information to external

       storage devices, the date on which it occurred, as well as other pertinent

       information. BD's Information Security Department reviews the Data Loss

       Prevention log files, which review may be at the request of a BD

       associate's manager, in an effort to determine whether BD employees are

       downloading or otherwise transferring BD trade secrets or confidential

       information.




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                                    BD's Trade Secrets

       4.     BD has developed and owns the following trade secrets, among others:

              a.     BD Prototype and Business Plans (the "BD Business Plan")

Related to Certain Needleless IV Connector Products ("Product-1"). BD has

developed needleless products used to connect or cap intravenous catheter tubing. From

2013 to 2014, BD devel9ped plans to develop a new needleless connector cap product

("Product-1 "), as well as a prototype of that product.

              b.     Foil Pouch for BD Alcohol Swabs: BD has developed a laminated

foil pouch that retains liquid antiseptics, which BD uses for packaging its alcohol swabs.

The composition of matter related to the laminated foil used to make the pouch is a BD

trade secret. .

              c.     BD E-Z Scrub™: BD E-Z Scrub™ is an anti-microbial skin

cleansing product line used in the acute care setting. BD E-Z Scrub TM products offer a

wide range of antiseptic formulations specifically designed to enhance perfonnance while

reducing irritation to the patient's skin. The BD E-Z Scrub™ product line includes, but

is not limited to, BD E-Z Scrub™ Preoperative Surgical Scrub Brushes and the BD E-Z

Scrub™ Antiseptic Foam Dispenser System. The ingredients, formulations,




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manufacturing formulas, development programs, development methods, and test results

related to BD E-Z Scrub™ products constitute BD trade secrets.

              d.     BD's Market Research: BD's confidential market research results

from multi-millions of dollars of market analysis about the markets (geographic markets

and customer markets) where BD could sell its products, including the analysis of

potential markets for certain projects related to its Healthcare Acquired Infections

Initiative and for certain connector ,devices for intravenous tubing, as well as past

performance of its products and licensed products. Such market research also includes

confidential information as to markets where it would not be economically viable to

conduct business, and su,.ch negative market research also constitutes a trade secret.

                               The Defendant Minh Hoang

        5.    Minh Quang Hoang (hereinafter, "Hoang") is an individual currently

residing in Sandy, Utah. Hoang was employed by BD as a research and development

(R&D) Staff Engineer from 1988 until BD terminated his employment on September 15,

2015.

        6.    As a Staff Engineer, Hoang was primarily responsible for research and

development ofBD products or technologies licensed by BD. Specifically, Hoang was

responsible for research, development and enhancement of BD's antiseptic products



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related to surgical preparation and intravenous catheters, including, among others, BD's

needleless connector caps.

       7.     As an R&D Staff Engineer, Hoang had access to paper, computer and other

files containing BD trade secrets, including but not limited to, formulations, designs,

specifications, blueprints, equipment, raw materials, manufacturing plans, suppliers

information, production processes, and customer lists for many projects and technologies.

During his employment at BD, Hoang was also exposed to BD' s confidential

information, development strategies, and long term plans.

        8.    At the commencement of his employment with BD defendant Hoang signed

an "Employee Agreement." By the terms of the agreement, defendant Hoang

acknowledged and agreed that any confidential information to which he had access was

the property of BD and would not be used or disclosed to others without BD' s consent.

Defendant Hoang further agreed to comply with all ofBD's policies, including the Trade

Secret Policy and Code of Conduct. The Trade Secret Policy provides that BD Trade

Secrets may only be disclosed outside of BD under the protection of a confidential

disclosure agreement ("CDA") approved by the BD Law Group and signed by the

recipient of the BD trade secret. The Trade Secret Policy also states that "Every BD

associate with access to BD trade secrets shall comply with this Policy." Hoang also

participated in periodic employee trainings   ~bout   confidentiality and security.

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        9.    At some point, Hoang became dissatisfied with his employment at BD. He

attempted to arrange other employment and represented to his colleagues that he intended

to "retire" from BD during calendar year 2016.

                                 Other Relevant Entities

        10.    Company-A is a pharmaceutical and medical device distributor located in

Illinois.

        11.    Company-B is a contract development, manufacturing, and packaging

company located in Illinois.

        12.    Individual-I is a principal of Company-A and Company-Bas well as a

managing member of Company-B.

        13.     Company-C is a medical services company formed by Hoang to compete

with BD.

        14.     Company-Mis a custom manufacturer of medical and electronic devices

and components headquartered in Shenzhen, China.

                       The Defendant's Theft of BD Trade Secrets

        15.     Through its security procedures, BD learned that Hoang had secretly,

without authorization and in violation of company policy and his legal and contractual

obligations, downloaded and taken from BD tens of thousands of computer files that

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contained BD's trade secrets. BD determined that approximately 90 percent of the

downloads were completed at Hoang' s residence.

       I 6.   Hoang frequently accessed BD documents containing trade secrets and

copied the documents into new documents, removing any references to BD. He then e-

mailed the new documents from his BD e-mail address to his personal e-mail account,

and then from his personal e-mail account to a third parties.

BD 's Trade Secrets Related to Development ofProduct-I

       I 7.   Hoang developed a plan to use BD' s confidential business plans, product

specifications, and market research for the benefit of Company-C, which he fom1ed while

still employed with BD, and for the benefit of another company, Company-A, and its

principal, Individual-I. Specifically, Hoang planned to use BD's confidential business

plans and specifications to help Company-A develop Product-I and to help Company-A

develop a business strategy using BD's confidential plans and research in order to secure

financing for Company-A and grow Company-A in competition with BD.

       IS.    In furtherance of this plan, on and about July I5, 2013, Hoang stole a

prototype from BD's facilities and sent it by mail to Company-M.

       I9.    On September I I, 2013, Hoang stole BD trade secrets related to the

laminated foil used to make the pouch for the packaging of BD Alcohol Swabs. He did


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so by taking a BD file containing the formulation and specifications used to create the

laminated foil and pouch.

       20.    On the same date, Hoang stole BD trade secrets related to the specifications

for the foam material used by BD to produce its needleless connector caps. He did so by

taking a BD file identifying the foam material used in BD's needleless connector caps

and containing the specifications for that material.

       2 I.   On the same date, Hoang stole BD trade secrets related to the specifications

for a certain polymer and how BD used that polymer. He did so by taking a BD file

identifying the polymer and the source for the polymer and the specifications used to

create the polymer and identified the application for which BD used the polymer.

       22.    On September 11, 2013, Hoang e-mailed these converted trade secrets from

his BD e-mail account to his personal e-mail account, and then e-mailed the stolen

information from his personal e-mail account to the President of Company-M and copied

Individual-I on the e-mail.

       23.    Thereafter, Hoang encouraged Individual-I to bid for a license of BD's

patent for a needleless connector cap. BD, however, declined the bid. Instead, BD

indicated to Defendant Hoang its desire to develop the needleless connector cap ·

technology itself and not to license it out to Company-A or anyone else.



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      24.     Undeterred and in direct contravention of his employer's instructions,

Hoang continued to direct Individual-1, Company-A, and Company-M to develop

Product-1, which was based not only upon BD's patent but also upon the stolen trade

secret information, including the prototype and confidential supplier specifications and

applications he shared with Company-M, Individual-1, and Company-A in his September

11, 2013 email.

       25.    Hoang, and others acting at his direction, attempted to secure the

intellectual property rights in China for Product-1 to Company-A instead of BD. Hoang

indicated he believed BD or one of its competitors would pay Company-A $6 million for

the technology and intellectual property rights related to Product-1.

       26.    Hoang also continued to download and convert BD' s trade secrets to assist

in developing Product-I and determining its market potential. For instance, on February

2, 2015, Hoang shared with Individual-I confidential sales reports for the fourth quarter

of 2014 concerning a product that Product-1 would compete with.

       27.    On February 23; 2015, Hoang also e-mailed Individual-1 BD's confidential

testing materials related to a component of Product-1 that Hoang and the third parties

intended to use for the development of Product-1.




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      28.    After developing a prototype of Product-I, on or about March 24, 20I5,

Company-A placed an order with Company-M to produce Product-I and to deliver it to

Company-A.

      29.    On or about June 5, 20I5, Company-A applied for a trademark for Product-

1.


BD 's Confidential Market Research and Plans, Including Plans and Research Related to
Product-I


       30. · Also in furtherance of his plans, Hoang stole BD's confidential market

research and business plans, with an intent to convert the information to use and share

with Company-A's potential investors and lenders. Hoang and Individual-I and

Company-A intended to use financing from these investors and lenders to develop

Product-1 and otherwise expand Company-A's business by following the market

strategies and plans set forth in BD's confidential documents.

       31.    On and about October 13, 20 I 4 Hoang copied a business plan ("the "BD

Business Plan") that contains BD' s confidential market and product research concerning

needleless connectors. Hoang e-mailed the converted information from his BD e-mail

account to his personal Comcast e-mail account, and at some point shared it with

Company-A and Individual-I. Hoang prepared the Company-A Business Plan copying

·verbatim much of the data and information from the stolen BD business plan and shared

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it with Company-A and Individual-I, as well as Company-A's advisors and potential

investors. The Company-A Business Plan specifically stated an intention to sell its

products to BD or BD's competitors.

BD 's Market Research Related to. its Healthcare Acquired Infections Initiative

       32.    Additionally, Hoang stole from BD confidential information related to

BD's Healthcare Acquired Associations ("HAI") Initiative. The stolen trade secret

information also appeared verbatim in the Company-A Business Plan, thereby

establishing that Company-A would compete with BD in the same markets by using

BD's confidential business plans.

       33.    Further, Hoang and the third parties to whorri he had disclosed BD's trade

secrets took additional steps to use BD's trad~ secrets in competition with BD, including:

(a) Company-A and Company-M entered into a manufacturing agreement under which

Company-M would manufacture the new Product-I but Company-A would retain all

intellectual property rights in Product- I; (b) Hoang, without informing BD, in November

20I4, traveled to China to meet with Company-M for the purpose of engaging Company-

M to produce Product-I, (c) Hoang misrepresented to the Embassy of China that Hoang's

trip to China to visit Company-Min November 20I4 was for the benefit ofBD when, in

fact, the trip was for the benefit of Company-A and to the detriment of BD, (d) Company-

A and Individual-I paid Hoang amounts totaling at least $33,000 in consideration for

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Hoang traveling to China for the purpose of arranging for the manufacturing of Product-

I; and (e) Company-A and Individual-I made an investor presentation to third parties

based upon BD's confidential marketing research and business plans, seeking a $90

million investment.

       34.   Hoang, Individual-I, and Company-A converted BD's trade secrets as set

forth above in an effort to compete with BD. The Company-A Business Plan states that

the new devices developed by Company-A will be patented so that they can be licensed,

with a five or six percent royalty, to "major medical device companies such as

BD+CareFusion[. ]"

Defendant Continues Downloading ED 's Trade Secrets

       35.    From June to September 20I5, Hoang accelerated his pattern of theft,

downloading approximately 50,000 files to more than ten different removable media

devices. Many of the files contained BD confidential information and trade secrets.

       36.    Hoang did so for the purpose of using these trade secrets for the benefit of

Company-A, Company-B, or Company-C.

       37.    BD learned that Hoang stole files related to several BD products, including

ingredient component materials, technical drawings, process and formulation

technologies, manufacturing and development technologies, supplier information for both


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raw materials and manufacturing equipment, project plans, invention disclosures, and

technical files detailing the development pathways and technical history of the products.

       38.    As part of its internal review, BD determined that Hoang had copied a

significant amount of BD information to removable media storage devices. Beginning on

or about the morning of July 17, 2015 and continuing through the evening of July 19,

2015, Hoang downloaded and copied approximately 18,500 files to a removable media

storage device. The download included documents from folders titled "Drug

development report" and "E-Z Scrub." Beginning on or about the morning of July 21,

2015 and continuing through July 23, 2015, Hoang performed another download ofBD

documents, copying approximately 23,500 files to a removable storage device.

       39.    No legitimate reason existed for Hoang to possess and download such

confidential BD information. Further, no legitimate reason existed for Hoang to

download any ofBD proprietary information to external devices such as thumb drives.

       40.    Much of the misappropriated information constitutes highly valuable trade

secrets. Disclosure of those trade secrets to a competitor or the general public would

cause great loss to BD. The trade secret information taken by Hoang would provide a

roadmap to any skilled third party in the field to recreate BD's products and technologies,

and deprive BD of its competitive advantage.



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      41.    At a September 3, 2015 meeting, when confronted about his recent

downloading activity, Hoang admitted to a small amount of inconsequential conduct but

withheld information concerning his actions in taking thousands of computer files that

represented the confidential and proprietary information and property and trade secrets of

BD. Specifically, Hoang admitted only to downloading a couple of hundred BD

documents to only one removable media storage device.

       42. Additionally, during the September 3, 2015 meeting, Hoang admitted toe-

mailing BD's supplier documents to his personal e-mail account, but Hoang falsely

denied e:-mailing BD technical or business documents to his personal e-mail account.

       43. Hoang agreed to return the removable media storage device to BD's Sandy

Facility the following day. However, Hoang did not show up to the Sandy Facility the

following day and never did return the removable media storage device to BD.

                                     COUNTS      1~10

                                   18 u.s.c. § 1832
                                (Theft of Trade Secrets)

       44.    The Grand Jury realleges and incorporates by this reference the factual

allegations in paragraphs 1 through 43 above.

       From on or about July 15, 2013 until on or about September 15, 2015, in the

Central Division of the District of Utah, and elsewhere,



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                                     MINH HOANG,

the defendant herein, with the intent to convert trade secrets related to products used in

and intended for use in interstate and foreign commerce, namely trade secrets

corresponding to products of Becton, Dickinson and Company ("BD"), and with the

intent to convert said trade secrets to the economic benefit of anyone other than BD, and

intending and lrnowing that the offense will injure BD, did knowingly steal, and without

authorization appropriate, take, carry away, conceal, copy, duplicate, download, upload,

alter, transmit, communicate, and convey such information, and attempt to do the same,

on or about each of the dates identified and with regard to products and trade secrets

listed below, and did aid and abet others therein:

 Count          Stolen Trade Secret                 Relevant        Date of       Third Party
                                                   Product or      Conversion      Provided
                                                    License                       with Secret
   1      Prototype                           Needleless          7/I5/2013       Company-M
                                              Connectors
   2      BD Foil for Alcohol Swab            BD Alcohol          9/I 1/2013       Individual-I
          Pouch                               Swabs                                and
                                                                                   Company-A
                                                                                   and
                                                                                 · Company-M
    3     Foam material specifications        Needless            9/I 112013       Individual-I
                                              Connectors                           and
                                                                                   Company-A
                                                                                   and
                                                                                   Company-M




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Count          Stolen Trade Secret                  Relevant      Date of       Third Party
                                                   Product or    Conversion      Provided
                                                    License                     with Secret
  4       Polyethylene polymer supplier       [Application in    9/11/2013      Individual-I
          and specifications                  new product is a                  and
                                              trade secret]                     Company-A
                                                                                and
                                                                                Company-M
  5       BD Business Plan                    Needleless         ~ 10/I3/20I4   Individual-
                                              Connectors                        I, and
                                                                                Company-A
  6       BD's Strategic Plan concerning   Confidential      ~10/I3/20I4        Individual- I
         · antimicrobial dressings outside business plan                        and
           of North America contained in   concernmg                            Company-A
           an internal report titled "PIVC-antimicrobial
           BSI: An Overlooked Risk -       dressings
           Break the Chain of Infection viaoutside of North
           CHG Dressing for PIVCs"         America
  7        Confidential Market Research    Business plan     ~IO/I3/20I4        Individual-I
           related to BD's platform for    concerning BD                        and
           Healthcare-Acquired Infections  products,                            Company-A
           (HAI)                           including use of
                                           BD' s proprietary
                                           polymer
  8       Market Research Conducted for Confidential         ~ 10/13/20I4       Individual-I
          BD: Chlorhexidine/Alcohol        market research                      and
          Product for Device Disinfectant and business                          Company-A
          - Evaluation of Market Potential plan concerning
                                           chlorhexidine I
                                           alcohol pad
  9       Fourth Quarter 20I5 Sales        Needleless        2/2/20I5           Individual- I
          Report regarding needleless      Connectors                           and
          connector caps                                                        Company-A
 10       Zone Inhibition testing materials Needleless           2/23/20I5      Individual-I~
          related to a needleless connector Connectors                          and
          cap                                                                   Company-A


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All in violation of 18 U.S.C. §§ 2 and 1832(a)(l), (a)(2), and (a)(4).


                   NOTICE OF INTENT TO SEEK FORFEITURE

       Pursuant to 18 U.S.C. § 2323, upon conviction of any offense in violation of 18

U.S.C. § 1832, the defendant shall forfeit to the United States of America: 1) any article,

the making or trafficking of which is, prohibited under the offense; 2) any property used,

or intended to be used, in any manner or part to commit or facilitate the commission of

the offense; and 3) any property constituting or derived from any proceeds obtained

directly or indirectly as a result of the commission of the offense. The property to be

forfeited includes, but is not limited to, the following:

       •   A money judgment equal to the total value of the property described above for

           each offense.


                                   SUBSTITUTE ASSETS

            If any of the above-described forfeitable property, as a result of any act or

omission of the defendant,

              (1) cannot be located upon the exercise of due diligence;

              (2) has been transferred or sold to, or deposited with, a third person;

               (3) has been placed beyond the jurisdiction of the court;

               (4) has been substantially diminished in value; or

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             . (5) has been commingled with other property which cannot be divided

           without difficulty;

it is the intent of the United States, pursuant to 18 U.S.C. § 2323(b)(2)(A) and 21 U.S.C.

§ 853(p ), to seek forfeiture of any other property of said defendant up to the value of the

above-forfeitable property.




                                           A TRUE BILL: (

                                                       /2
                                           FOREPERSON OF THE GRAND JURY


JOHN W. HUBER
United States Attorney



ROBERT A. LUND
Assistant United States Attorney



t:f~
KEBHARU SMITH
Senior Trial Attorney




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